Case 2:05-cr-00533-SRC   Document 181   Filed 07/10/09   Page 1 of 6 PageID: 2418
Case 2:05-cr-00533-SRC   Document 181   Filed 07/10/09   Page 2 of 6 PageID: 2419
Case 2:05-cr-00533-SRC   Document 181   Filed 07/10/09   Page 3 of 6 PageID: 2420
Case 2:05-cr-00533-SRC   Document 181   Filed 07/10/09   Page 4 of 6 PageID: 2421
Case 2:05-cr-00533-SRC   Document 181   Filed 07/10/09   Page 5 of 6 PageID: 2422
Case 2:05-cr-00533-SRC   Document 181   Filed 07/10/09   Page 6 of 6 PageID: 2423
